     Case 1:18-cr-00111-CMH Document 27 Filed 04/18/19 Page 1 of 3 PageID# 99


United States, Plaintiff    .                                       Fernando Galindo, Clerk of Court
Robert Alien Rytlewski, Relator                                     Albert V. Bryan U.S. Courthouse
                           V.                                       401 Courthouse Square
United States of America, USA,Kellen Dwyer,                         Alexandria, VA 22314
Thomas W.Traxler,Gordon D. Kromberg, Usurpers
(CASE #: l:18-cr-00111-CMH)                                                             RECEIVED
                                                                                        MAiLROOM


Re: Information in the nature of Quo Warranto

                                                                                CLERK, U.S. DISTF;- ;   UURT
                                            Praecipe                               ALEXA-'DRIA. V::' 3!--iA


Clerk of Court, the United States request a decision from a district judge on the United States
"Information in the nature of Quo Warranto" regarding alleged Plaintiffs and Plaintiff Attorneys of
CASE #: l:18-cr-00111-CMH; related cases and proceedings.

The United States contest any interference in obtaining a judicial decision from a district judge.

Relator reminds the Clerk that the United States does not pay to inform the district court of civil rights
violations and ask the Clerk expedite the district judge's inquiry into the United States "notice and
demand" to know by what authority is Untied States of America / USA acting as the Government of the
United States in criminal proceedings in the United States district court.

I Robert Allen Rytlewski am a veteran of the United States Army, still bound by oath of enlistment to
God and Country. By my acknowledged honest and faithful service I am a qualified Relator on behalf
of the United States.




                                     Date: 04/15/2019
Signature
Robert Allen Rytlewski, Relator
10955 14 Mile Rd NE, Unit 55
Oakfield, Mich. 49341-8664
United States
Phone: 001(616)712-6179
Email: RobbRvder@aol.com
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 United States                                                      United States District Court
 Robert Allen Rytlewski,Relator                                      Albert V. Bryan U.S. Courthouse
                           Y                                        401 Courthouse Square
 United States of America, USA,Kellen Dwyer,                         Alexandria, VA 22314
 Thomas W.Traxler,Gordon D. Kromberg, Usurpers
(CASE #: l:18-cr-00111-CMH)

                        Information in the nature of Quo Warranto

       "The United States of America" hereinafter "United States" informs the United States district

court by this notice and demand in the form of an Information in the nature of Quo Warranto of the
usurpation of franchise and office by plaintiffs and plaintiffs attorneys prosecuting Julian Paul Assange

under Criminal No. l:18cr 111: UNITED STATES OF AMERICA v JULIAN PAUL ASSANGE,(aka

CASE #: l:18-cr-00111-CMH All Defendants: USA v Assange., or CASE#: l:18-cr-00111-CMH-l:

Julian Paul Assange) or any other sealed or related case.

       Take Notice: Alleged plaintiffs(UNITED STATES OF AMERICA or USA)have no authority to

act as the Government of the United States in the prosecution of the criminal law of the United States;

plaintiffs attorneys are simulating a legal process under color of law in offense of the United States.
                          As to usurper UNITED STATES OF AMERICA


       UNITED STATES OF AMERICA is a venue foreign to the venue of the United States. Only the

United States is Plaintiff in United States criminal cases. UNITED STATES OF AMERICA is not the

Government of the United States. UNITED STATES OF AMERICA has NO share of the sovereign

power of the United States. UNITED STATES OF AMERICA is a foreign corporation without
authority to tax, police, or condemn within the United States.
                                           As to usurper USA

USA is not the full legal name of The United States of America(United States). USA is legally

insufficient to identify the sovereign United States in criminal prosecutions. Using USA as plaintiff is a
simulated legal process under color law in offense of the laws of the United States that violates civil
rights in the United States."USA" has no legal standing in the United States.
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                        As to PLAINTIFFS ATTORNEYS,usurpers of office

       Kellen Dwyer, Thomas W.Traxler, Gordon D. Kromberg, have no authority in a court of the

United States to act as United States attorney in criminal cases prosecuted in the United States. These

individuals have not recited, subscribed and filed an oath of office that satisfies the 6th Article of the

Constitution of the United States (See First Law of the First Congress @ 1 Stat. 23 for proper oath),

they are not officers empowered to enforce the laws of the United States; they are usurpers.
       Plaintiffs Attorneys are not admitted to practice in the United States District Court. The

"APPLICATION TO QUALIFY AS AN ATTORNEY OF THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA" form requires applicant to identify themselves using

the individuals "Full Name" and specifically denies use of "initials", further any "APPEARANCE OF

COUNSEL"(AO 458 Form)submitted to the district court must identify the individual by the same

Name as subscribed to on the "APPLICATION"; no attorneys are registered with the Virginia State Bar

in the style name used by Plaintiffs Attorneys in this matter,(Kellen Dwyer,Thomas W.Traxler,
Gordon D. Kromberg), and no warrant of attorney has issued authorizing their representation.

        Kellen Dwyer, Thomas W.Traxler, Gordon D. Kromberg are usurpers of offices of the United
States who have rescinded their American National nationality (see 8 USC 1481: Loss of nationality by

native-born or naturalized citizen; voluntary action; burden of proof; presumptions) by swearing a false

oath of office. They are unfit to hold office in the United States and may need to be deported.
        I certify under penalty of perjury that the foregoing is true and correct. Executed on: 04/15/2019

Signature of Relator

Robert Allen Rytlewski, Relator
10955 14 Mile Rd NE, Unit 55
Oakfield, Mich. 49341-8664
United States
Phone: 001(616) 712-6179
Email: RobbRyder@aol.com
